 C)                H)                                 Ft
 Cl)                                                            C!)        C)        CD        Cl        Ft         CD                      C)
                   C)                                 a         Ft         0         HI
 Ft                hi                                                                          H-        a          hi            HI        CD
 CD                                                   CD        U)                   C)        U)        CD         0             C)        HI
                  CD                                            Ft
 a                C)                                                                 CD                             C)            CD        HI
                                                  H-            CD        H-                   H-        C)         CD
                                                  C             U)        Ft                                                                CD
                                                                                     CD        U)        C          0.           CD         CD
                  PC                              Ft                                 HI        U)        H-         C            HI
CD                                                CD            C)        CD                   CD        Ft         hi                      CD
                  C)                              hi            0         0                    U)
 II                                                                                                      CD         CD                      HI
                                                  CD            a         a                              a
                                            HI    U)            CD        a                    Ft                   U)    CD
                  H- CD                     a     Ft                      (I)
                  U)                                                              Ci)          CD        Ci)        C     C      CD         CD
                            U)              H-    U)                              C)           CD        Ft         a     hi     C)         Ci)
                                            U)                 C!)                HI                     U)               U)     HI
                  H- CD                           0            CD
                  U)
                                                                          C)                   HI        Ft     a         C                 C)
                                           a      H)           C)         Ft      CD           C         CD     L<        U)
                  U)o                      H-                  Ft
                                                                                                                                 CD         CD
                                                                                  CD           a                          C      CD
                  U)H)                     U)     Ft           H-         CD               H-
HI                HI                                                                                            HI        Ft
CD                                                a            0          :)<    -         C)        ::U)       CD                          CD
                                                                                                                                                            Case 2:09-cr-00863-SRC




                  ,C)                      H-     CD           0          Ft               Ft        Ft
HI                      0                                                                                       U)        Ft                CD
                                           U)                             0      C)                  Ft
                        C                                                                                       <         0                 CD
                                           U)    C)            HI         hi     CD        CD        0          CD
                        hi                                                                                                                  HI
                                           U)    C             -0         Ft     U)        C         hi                   CD
                        Ft                 HI    H-         CD            H-
                                                                                                                                            C)
                                                                                 hi        Ft        C          0         C
                                                 Ft         HI            0      C)        —         CD         H)        HI
                        H-                 H-    CD                       C      H-
                        U)                                                                                                CD
                                           U)    a                              C          C)                   C)
                                                            a             H-    C)         hi        H)         0         0.
                       C)                        Ci)        CD            C                H-
                       hi                                                                            0          0         Ci)
                                           H-    Ft         C)                   Ft                  hi         hi
                       U)                  Ft    U)         U)            <      CD        H-
                       C                                                                                        Ft       U)
                                                                                                                                                            Document 92




                                           a     Ft         C             H-     CD        C         Ft
                       Ft                 0      CD         U)            0
        C)              CD                                                                 U)        a          CD
                                  C)CD    C      U)         CD            HI               HI        CD
        C               a
                                                                                                                C        0                             C)
                                          Ft                              U)     CD                             Cl       H)
        H-                        H- C)                                                                                                                CD
        Ft                                       U)         H)            Ft     H)        CD        CC         0
                        H)        FtHI                                                                                                                 HI
                                          CD     Ft        C              H-     CD        0         H-         hi       Ft     0
        CD              0         CD       hi                                                                                          C)CD       CDHI
        a
                                                           hi             0      C                   U)         U)       a      CD     hiO        HICD
                        hi                 CD    Ft        Ft         C          Cl                  Ft
                                          U.
                                                                                                                CD       CD     CD     H-C
                                                 a         a                     U)       C)         hi         a
        CD             Ft        CI)                                                                                            CD     ).         HI
        Ft                                C      H-        CD         0          C        Ci)        H-                  CD            H-
                       a         Ft       a      U)        hi
                                                                                                                                CD                CDCn
        U)                                                            H)         Ft                  C)        a         CD            CC!)       HIHI
                       CD        U)       H                                               CO
        Ft                                                                                           Ft        CD        a      CD     U)Ft
                                 Ft       C-)    Ft        CD         HI                  0)
        CD             H)                                                                                      hi        CD     0      HIU)       HIHI
                                                                                                                                                            Filed 04/29/11




                                 CD       CD     H-        hi         H-         H-       Ci)        0         CD
        U)             H-        U)                                                                                      hi     CD        C         CD
                                                           0          Ft         Ft                  H)        0         U)            ZHI
             CD        HI                        CD        U)         HI                                                                          CCC
       CD.             H                                                        a                              C         HI     CD     OCD        CD
       H                                         •         CD         CD                  U)         CD                         HI
                   C             Ft                        C)                   C)                                                                   CD
       U)C)                                                                               C)         CD                  CD     Ci)               CDHI
                   C)            Ft                        C          HI        0         U)
        Fta                      0                                                                             CD        C      CD     QCD        CDCC
        hiCD                                               Ft         CO        C         H-                   U)        HI     HI
                       0         I-i                       H-         -         U)                                                                HI
        H- U)          H)        C
                                                                                          C          C)        C         CD     Ci)     I             CD
        C)HI                                               0                    CD        U)        CD         HI        U)     Ci)    COC)       a-HI
                                 CD                        C          C)        H-        Ft        hi
        FtCD           Ft                                                                                                              coa        CDC)
           hi          a
                                                                      C         hi                  U)         C)        0      H)     CDCD       CDHI
                                                           H-         H-        U)        a         CD                   H)               U)
        C)             CD                                  U)         Ft                                                                          CI)
       C                                                                        C)        CD        <                                     HI      CDC)
       a-                                                             CD        -<        H)                   CD        C)               CD      HCQ
       C)                                                  C          Cl                  CD                   H-        hi               hi
                                                           0                    Ft                                                                    C)
       CD                                                                                 C         a                    H-                           CD
                                                           Ft                   0         a         CD         a                                      HI
                                                                                          U)        hi                   H-
                                                           H-                             C         CD         U)        C
                                                           C                              Ft        CD         C         U)
                                                                                                                                                            Page 1 of 1 PageID: 585




                                                                                                    -<                   HI
